         Case 2:22-cv-04880-GEKP Document 33 Filed 07/31/23 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


BRITTANY VONBERGEN, individually
and on behalf of all others similarly situated,      Case No. 2:22-CV-04880

       Plaintiff,                                    Judge Gene E.K. Pratter

                         v.

LIBERTY MUTUAL INSURANCE
COMPANY,

       Defendant.


      DEFENDANT LIBERTY MUTUAL INSURANCE COMPANY’S NOTICE OF
       SUPPLEMENTAL AUTHORITY IN SUPPORT OF MOTION TO DISMISS

       Defendant Liberty Mutual Insurance Company (“LMIC”) hereby respectfully submits this

Notice of Supplemental Authority in support of its Motion to Dismiss Plaintiff’s Amended

Complaint (Dkt. 23) and its Reply in Support of Its Motion to Dismiss Plaintiff’s Amended

Complaint (Dkt. 26).

       On July 24, 2023, the United States District Court for the District of Massachusetts issued

a decision in the case styled Alves v. Goodyear Tire and Rubber Company, Case No. 22-11820-

WGY (Young, J.), relevant to LMIC’s argument that Plaintiff failed to demonstrate that the Court

has personal jurisdiction over LMIC. In Alves, the court held that the accessibility of Goodyear’s

interactive website in Massachusetts (the forum state) that solicited sales in Massachusetts and

“offered residents the ability to schedule services provided by Goodyear at one of its many service

locations in Massachusetts” was insufficient as a matter of law to subject Goodyear to the court’s

personal jurisdiction.

       A copy of Alves is attached hereto as Exhibit A.
           Case 2:22-cv-04880-GEKP Document 33 Filed 07/31/23 Page 2 of 3




Dated: July 31, 2023                         Respectfully submitted,

                                             /s/ Julie Singer Brady
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                                         2
4887-2308-6452.1
           Case 2:22-cv-04880-GEKP Document 33 Filed 07/31/23 Page 3 of 3




                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on July 31, 2023, the foregoing was electronically filed with

the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing

to all counsel of record.

                                                           /s/ Julie Singer Brady
                                                           Julie Singer Brady
                                                           Counsel for Defendant Liberty
                                                           Mutual Insurance Company




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